                            Case 3:18-mc-80114-LB Document 2 Filed 06/29/18 Page 1 of 3


                   1   BENJAMIN ROSENBERG (pro hac vice pending)
                       benjamin.rosenberg@dechert.com
                   2   DECHERT LLP
                       1095 Avenue of the Americas
                   3   New York, NY 10036
                       Telephone:    212.698.3622
                   4   Facsimile:    212.698.3599                  F JL E 0
                   5   H. JOSEPH ESCHER III (No. 85551)
                       h.joseph.escher@dechert.com                   JUN 29 Z018
                   6   DECHERT LLP
                       One Bush Street, Suite 1600                 SUSAN Y SOONG
                                                                 CLERK, U.S. DISTRICT COURT
                   7   San Francisco, California 94104         NORTHERN OISTR~ CALIFORNIA
                       Telephone:     415.262.4500
                   8   Facsimile:     415.262.4555

                   9   Attorneys for Dechert LLP.
               10                                    UNITED STATES DISTRICT COURT

               11                               NORTHERN DISTRICT OF CALIFORNIA

               12                                       SAN FRANCISCO DIVISION

               13                                   cv 18
               14
                       IN REAPPLICATION OF DECHERT LLP,
                                                                                                   D
                                        Applicant.                      DECLARATION OF BENJAMIN
               15                                                       ROSENBERG IN SUPPORT OF
                                                                        DECHERT LLP'S APPLICATION FOR
               16                                                       DISCOVERY FOR USE IN A FOREIGN
                                                                        PROCEEDING
               17

               18

               19

               20

               21

               22

               23

               24

               25

               26

               27

               28
DECHERT LLP
ATTORNEYS AT LAW
                                              DECLARATION OF BENJAMIN ROSENBERG Case No.
                              Case 3:18-mc-80114-LB Document 2 Filed 06/29/18 Page 2 of 3


                    1          I, Benjamin Rosenberg, declare and state as follows:

                    2           1.     I am an attorney duly admitted to practice law in the State ofNew York and have a

                    3   pro hac vice application pending before this Court. I am a partner in the law firm of Dechert LLP

                   4    ("Dechert"), representing Dechert in this proceeding. I am aware of the facts set forth in this

                    5   declaration from information I received from attorneys in Dechert who are familiar with the

                   6    firm's representation of Eurasian Natural Resources Corporation Ltd. ("ENRC"). I respectfully

                   7    submit this declaration in support of Dechert's Application For Discovery For Use In A Foreign

                    8   Proceeding.

                   9           2.       ENRC retained Dechert in or about April 2011 to provide legal services relating

                   10   to the investigation of a whistleblower' s claim that one or more ENRC subsidiaries engaged in

               11       wrongdoing. On or about March 27, 2013, ENRC terminated the retainer. Dechert wrote a letter

               12       to ENRC concerning the termination of the retainer.

               13              3.      This letter was apparently obtained by Mr. Danny Fortson, who used it to write

               14       articles published in The Sunday Times, which revealed the contents of the letter.

               15              4.      The article recounted that the letter contained allegations of ENRC misconduct,

               16       including evidence that documents had been falsified and destroyed, use of electronic wiping

               17       tools by employees, payments to African presidents, and creation of a false office.

               18              5.      ENRC apparently believes that Dechert was the source of the leaked letter to Mr.

               19       Fortson, and has stated that it is reasonably likely to bring a claim in a pending proceeding against

               20       Dechert in the United Kingdom in relation to this leak. Dechert denies that it leaked the letter.

               21              6.      Attached hereto as Exhibit A are true and correct copies of the stories published

               22       by Mr. Fortson in The Sunday Times based on information obtained from the leaked letter from

               23       Dechert to ENRC.

               24              7.      Attached hereto as Exhibit B is a true and correct copy of the subpoena that

               25       Dechert wishes to serve on Mr. Fortson.

               26              8.      Attached hereto as Exhibit C is a proposed order granting Dechert leave to

               27       conduct the requested discovery, to permit the service and enforcement of the subpoena attached

               28       hereto, and to grant further discovery in favor of Dechert as the Court deems just and appropriate.
DECHERT LLP
ATTORNEYS AT LAW                                                      1
                                                 DECLARATION OF BENJAMIN ROSENBERG Case No.
                                 Case 3:18-mc-80114-LB Document 2 Filed 06/29/18 Page 3 of 3


                       1
                      2           I declare under penalty of perjury under the laws of the State of California and the United

                      3    States that the foregoing is true and correct and that this declaration was executed this 29th day of

                      4    June, 2018, in New York, New York.

                       5
                       6   Dated: _June 29, 2018

                      7

                      8

                       9
                     10

                     11
                     12

                     13

                     14

                     15

                     16

                     17

                     18

                     19

                     20

                     21

                     22

                     23

                     24

                     25
                     26
                     27

                     28
  De~CHF.RT   LLI'                                                       2
if'TORNEYS AT L.l\ W
                                                    DECLARATION OF BENJAMIN ROSENBERG Case No.
